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                        UNITED STATES BANKRUPTCY COURT FOR THE
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

In Re:                                                  )
                                                        )
VR KING CONSTRUCTION, LLC et al.                        ) Case No: 18-31635-LTB
                                                        ) Chapter 7
       Debtor.                                          )
A. BURTON SHUFORD, Trustee in Bankruptcy                )
for VR King Construction, LLC, et al.,                  )
                                                        ) Adversary Proceeding
           Plaintiff,                                   )    No: 19-___________
                                                        )
     vs.                                                )
                                                        )
SUNTRUST BANKS, INC.,                                   )
                                                        )
           Defendant.                                   )

         COMPLAINT FOR TURNOVER PURSUANT TO 11 U.S.C. SECTION 542(a)

      The complaint of A. Burton Shuford, Trustee in Bankruptcy for VR King Construction,
LLC, Debtor, in the above captioned Bankruptcy Case, respectfully represents:

                                  PARTIES AND JURISDICTION

        1.     The Debtor filed a voluntary petition under Chapter 11 of the Bankruptcy Code
on October 31, 2018. The reorganization was unsuccessful, and the Debtor’s case was converted
to a case under Chapter 7 of the Bankruptcy Code on April 11, 2019 thereby creating a Chapter 7
bankruptcy estate (the “Estate”).

       2.         The Plaintiff, A. Burton Shuford, is the duly appointed and acting Trustee of the
Debtor.

       3.     The Defendant, SunTrust Banks, Inc. (“SunTrust”) is, on information and belief a
Georgia corporation.

        4.      Plaintiff is informed and believes, and upon that basis alleges, that Defendant
was, at all relevant times hereto, and is doing business within the jurisdiction of this Court.

        5.      This adversary proceeding is an adversary proceeding arising in, under and related
to the Chapter 7 case entitled VR KING CONSTRUCTION, LLC, pending in the United States
Bankruptcy Court for the Western District for North Carolina, Charlotte Division. This
adversary proceeding is a core proceeding pursuant to 28 U.S.C. Sec. 157. Plaintiff consents to
the entry of final orders or judgment by the bankruptcy judge.
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       6.     This Court has jurisdiction pursuant to 28 U.S.C. Sec. 1334 and 28 U.S.C. Sec.
157.

       7.     Venue for this adversary proceeding is proper in this Court pursuant to 28 U.S.C.
Section 1409.

       8.     This proceeding is an adversary proceeding within the meaning of Fed. R. Bankr.
P. 7001

        9.      Upon the conversion of the Debtor’s Bankruptcy case to Chapter 7 the Debtor
maintained one or more bank accounts with the Defendant. The Plaintiff is aware of the
following accounts: VR King Construction, LLC DIP (xx5024); Baranko Enterprises, Inc. DIP
(xx2488); VR Investments LLC DIP (xx2470); and VR Investments LLC (xx9671) (the above-
listed accounts and any other accounts of the Debtor with the Defendant will be collectively
referred to as the “Accounts”).

       10.   The Accounts and the funds therein are property of the Estate pursuant to 11
U.S.C. §541.

       11.      The Plaintiff on April 12, 2016 sent a letter to the Defendant demanding that the
Defendant turn the funds in the Accounts over to the Plaintiff. The Defendant has failed and
refused to turn over the funds in the Accounts to the Plaintiff.

        12.   Pursuant to 11 U.S.C. §542(a), Defendant must turn over to the Plaintiff the funds
in any account of the Debtor with the Defendant and provide an accounting for all such accounts
showing all activity in the accounts since the conversion of this case to Chapter 7 on April 11,
2019.

       WHEREFORE, the Plaintiff prays this Court for judgment as follows:

       1.      Entry of an Order requiring the Defendant to turn over the funds in any and all
accounts of the Debtor with the Defendant;

       2.      Entry of an Order directing the Defendant to provide an accounting for all such
accounts showing all activity in the accounts since the conversion of this case to Chapter 7 on
April 11, 2019; and

       3.     For such other and further relief as is just and proper

This the 22nd day of May, 2019.

                                       /s/ A. Burton Shuford
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